Case 3:25-cv-00514-AB   Document 1-4   Filed 03/26/25   Page 1 of 8




                  EXHIBIT 4
                 Case 3:25-cv-00514-AB       Document 1-4      Filed 03/26/25    Page 2 of 8
Fact Sheet
Certification                                                                      •• LegitScript



                    Healthcare Certification
                    Questionnaire
                    These are the questions that merchants are required to answer when
                    applying for LegitScript Healthcare Certification.




                Business Information

                    1.   Please provide a short description of your business model.


                    2. Please provide a list of your principals and officers.

                            ●   First name

                            ●   Last name

                            ●   Position


                    3. Does your business provide pharmacy facilitation services?

                         Tip - Please answer 'Yes' if you are a pharmacy broker, aggregator, or
                         facilitator, including any entity that processes or facilitates card-not-present
                         transactions for pharmacies. A facilitator is defined as a company who
                         directs patients to external pharmacies or providers with which they have a
                         contractual relationship.

                         If Yes, Follow Up - Please provide the name(s) of these pharmacy facilitator
                         platforms and URL(s) for each. Additionally please comment on the
                         contractual relationship present, if any.




                                                                                         Exhibit 4
                                                                                        Page 1 of 7

1                  legitscript.com
                 Case 3:25-cv-00514-AB      Document 1-4       Filed 03/26/25    Page 3 of 8
Fact Sheet
Certification


                Licensure


                    4. Using this template, please review and fill out the licensing and registration
                       information for your business. Click here for a full list of the questions you will
                       need to answer as part of your application.

                       Tip -Please ensure all tabs of the template are reviewed and addressed to
                       the best of your ability.

                       On the business registration tab of the template, we require your state-level
                       business registration of each jurisdiction you operate within and serve. You
                       can find your registration number on your Secretary of State website, or
                       provide your state tax ID/document number if needed.

                       On the telemedicine tab of the template, please provide details on how you
                       adhere to telemedicine compliance requirements in each jurisdiction you
                       serve. This includes the physician license number in each applicable state.
                       State-specific telemedicine business registrations, and additional state level
                       licensure, are not required within this tab. Please note, columns after G are
                       intended to collect pharmacy related information. Telemedicine providers
                       are not required to complete these fields unless they have the relevant
                       information on hand. If not applicable, these fields may be left blank.




                Website


                    5. Does your business offer your customers a mobile app?

                       If Yes, Follow Up - Please list all corresponding app store links.




                                                                                          Exhibit 4
                                                                                         Page 2 of 7

2                   legitscript.com                                                         •• LegitScript
                 Case 3:25-cv-00514-AB     Document 1-4      Filed 03/26/25    Page 4 of 8
Fact Sheet
Certification

                    6. Is your primary website currently under construction or in a stage of
                       development?

                       Tip - Please note: LegitScript can only provide certification of a website that
                       is under construction on a preliminary basis. An unfinished website could
                       delay the certification process.


                       If Yes, Follow Up - Please describe when you anticipate the changes will be
                       completed and how LegitScript will be able to review a version of this website
                       before it is published.


                    7. Does your website feature an area where a patient or other user must sign in?

                       Tip - Examples include, but are not limited to, creating a patient account,
                       provider account, any user account, purchasing account, etc.

                       If Yes, Follow Up - Please provide any necessary credentials LegitScript will
                       need for log-in access.




                Policies & Procedures


                    8. For telemedicine providers only: Do you offer a method for patients to contact
                       the physician who prescribed any medication(s)?

                       Tip - Please select 'Not Applicable' if your business model does not apply.

                       If Yes, Follow Up - Please provide the communication method by which the
                       patient is able to contact the physician who prescribed any medication(s) for
                       questions, concerns, or consultation.


                    9. For telemedicine providers only: Using this template, please outline how your
                       telemedicine practice complies with the applicable laws and regulations of
                       your jurisdiction(s).

                       As you complete the spreadsheet, please:


                                                                                       Exhibit 4
                                                                                      Page 3 of 7

3                   legitscript.com                                                     •• LegitScript
                Case 3:25-cv-00514-AB      Document 1-4      Filed 03/26/25     Page 5 of 8
Fact Sheet
Certification

                         ●   List every jurisdiction where you provide telemedicine services,
                             including both individual US states and/or countries, as applicable.

                         ●   Cite laws and regulations and explain how your telemedicine services
                             comply with the specific laws and regulations of each jurisdiction as
                             they relate to, including but not limited to:

                         ●   Establishing patient-practitioner relationship

                         ●   Patient identification

                         ●   Patient consent

                         ●   Online prescribing

                         ●   Medical records / HIPAA

                      Tip - Please select 'Not Applicable' if your business model does not apply.


                   10. Does your business utilize a partner pharmacy? A partner pharmacy is defined
                       as a pharmacy utilized by an applying entity to fulfill and dispense prescription
                       medication orders to patients of the applying entity. Please note, all partner
                       pharmacies are required to be certified through LegitScript.

                      If Yes, Follow Up - Please provide the business name(s) and URL(s) for each of
                      your current partner pharmacies and the estimated monthly prescription
                      volume sent to each of them.


                   11. If you answered "Yes" to the previous question, please provide additional
                       information describing your vetting process for prospective partner pharmacy.

                      Tip - Please type 'Not Applicable' if your business model does not apply.


                   12. Does your business facilitate the sale of or prescribe compounded
                       medication(s)?

                      Pharmacies: Please fill out each tab to the best of your ability.

                      If Yes, Follow Up - Using this compounding addendum template, please
                      review and fill out the compounding information for your business.




                                                                                           Exhibit 4
                                                                                          Page 4 of 7

4                  legitscript.com                                                          •• LegitScript
                 Case 3:25-cv-00514-AB      Document 1-4      Filed 03/26/25    Page 6 of 8
Fact Sheet
Certification

                    13. Please provide any recent (within the last five years) audits or inspections for
                        your business; such as the Board of Pharmacy, medical boards, FDA, DEA, and
                        any regulatory bodies applicable to your business model. Please include any
                        actions you took in response to the audit and any written follow-up or
                        corrective action documentation that you submitted to the auditing entity.

                       Tip - Please upload any relevant documentation.




                Prescriptions & Medicine


                    14. Does your business prescribe, dispense, administer, distribute, or manufacture
                        controlled substances?

                       If Yes, Follow Up - Please upload a copy of your DEA registration.


                    15. If you answered "Yes" in the previous question, please describe how your
                        company's operating procedures address and minimize the diversion of
                        controlled substances.

                       Tip - Please enter 'Not Applicable' if you selected 'No' in the previous
                       question.


                    16. For pharmacies only: How can prescribers submit new prescriptions to your
                        pharmacy?

                       Tip - Please enter 'Not Applicable' if your business model does not apply.


                    17. For pharmacies only: How can patients submit new prescription orders to your
                        pharmacy?

                       Tip - Please enter 'Not Applicable' if your business model does not apply.


                    18. For pharmacies only: How are patients able to receive their prescription
                        medications from your pharmacy?

                       Tip - Please enter 'Not Applicable' if your business model does not apply.


                                                                                        Exhibit 4
                                                                                       Page 5 of 7

5                   legitscript.com                                                      •• LegitScript
                  Case 3:25-cv-00514-AB      Document 1-4      Filed 03/26/25     Page 7 of 8
Fact Sheet
Certification

                     19. For pharmacies only: Please upload an image of a sample patient prescription
                         label showing the pharmacy's contact information.

                        Tip - Please enter 'Not Applicable' if your business model does not apply.
                        Please DO NOT include Protected Health Information on your sample
                        prescription label. This should be a sample only.




                Prior Discipline


                     20. In the last 10 years, have you been subject to any adverse legal, disciplinary, or
                         regulatory actions, AND/OR fines or reprimands with regard to financial
                         transactions pertaining to the applicant (including the company, its principals,
                         owners, and staff)?

                        Tip - Adverse legal, disciplinary, or regulatory action is interpreted broadly
                        and includes any lawsuit, license revocation, suspension, placement on
                        probation, reprimand, warning letter, administrative complaint, cease and
                        desist order, consent agreement, FDA Form 483, and any other similar
                        regulatory communication from any regulatory agency in any jurisdiction.
                        Please include any monetary penalty equivalent to USD $2000 or more, for
                        any revocation, suspension, restriction, or probationary status imposed upon
                        a license or registration by a regulatory authority, or any criminal conviction,
                        fines from the payments industry (e.g. Visa VIRP or Mastercard BRAM fines),
                        or fines from regulators with regard to financial transactions.

                        If Yes, Follow Up - Please provide a detailed account of the facts, including
                        any remediation steps that may have been taken in response.


                     21. If you answered "Yes" to the previous question, please upload any relevant
                         documentation related to any adverse legal, disciplinary, or regulatory actions,
                         AND/OR fines or reprimands with regard to financial transactions pertaining to
                         the applicant (including the company, its principals, owners, and staff).

                        Tip - Type 'Not Applicable' if you answered 'No' to the previous question or do
                        not have any files to upload.



                                                                                          Exhibit 4
                                                                                         Page 6 of 7

6                    legitscript.com                                                        •• LegitScript
                 Case 3:25-cv-00514-AB        Document 1-4   Filed 03/26/25   Page 8 of 8
Fact Sheet
Certification


                Whois Information


                    22. For each domain name for which you are seeking certification, please upload a
                        screenshot of the Whois information from your domain’s registrar. The upload
                        file MUST contain all of the following Whois information:

                           ●   Domain name

                           ●   Registrant name

                           ●   All registrant contact information for the domain name including:
                               organization, address, phone, and email

                       Tip - Please note that Whois information MUST NOT be redacted or privacy
                       protected.


                    23. Please provide an exhaustive list of all domains owned and operated by your
                        business and/or principals. This includes all websites not related to the
                        submitted application.

                       Tip - Please note that failure to provide all domain names may result in a
                       delay in the processing of your application.




                Contact Us
                    1-877-534-4879

                    certification@legitscript.com

                    legitscript.com/contact



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                    CHM-CE198-FSE-02
                                                                                      Exhibit 4
                                                                                     Page 7 of 7

7                   legitscript.com                                                     •• LegitScript
